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                                 UNITED STATES DISTRICT COURT
                              DISTRICT OF UTAH, CENTRAL DIVISION


APOTHECARY MOVEMENT, LLC, a Utah
limited liability company,

                 Plaintiff,                               CERTIFICATE OF SERVICE

vs.

BH ELEGANT LINENS, LLC dbas AA
WHOLESALE DEALS; and SWIFT
                                                        Civil No. 2:23-cv-00845-HCN-DAO
INNOVATIONS, a New York limited liability
company,                                                    Judge Howard C. Nielson, Jr.
                 Defendants.


       I certify that on this 15th day of April, 2024, I caused a true copy of Swift’s

Supplemental, Evidentiary Submission in Support of Motion to Set Aside Default Judgment and

to Vacate Writ of Garnishment for Lack of Jurisdiction, the Declaration of Avi Alhakim in

Support of Motion to Set Aside Default Judgment and to Vacate Writ of Garnishment for Lack of

Jurisdiction, and Exhibits 1 through 4 to be served via the court’s electronic filing system upon

the following:




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